           Case 23-10831-MFW          Doc 1042-7     Filed 03/01/24     Page 1 of 1




                                          Exhibit F-1

                          Identity of Claims Ombudsman and Rates

Pursuant to the Plan, the Claims Ombudsman is the person selected by the UCC and EC, with the
consent of the Debtors (such consent not to be unreasonably withheld), charged with overseeing
the tasks set forth in Article V.D of the Plan.

The Claims Ombudsman shall be Alan D. Halperin. Mr. Halperin, as Claims Ombudsman, will
be entitled to receive compensation at his normal hourly rate (as may be adjusted periodically)
and reimbursement of his reasonable and actual out-of-pocket expenses, paid by the Post-
Effective Date Debtors from the Post-Effective Date Debtor Cash. As of the date hereof, Mr.
Halperin’s hourly rate is $845.
